                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE                        Motion GRANTED.
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )              Case No.3:11-CR-00082-12
       v.                                   )              JUDGE TRAUGER
                                            )
                                            )              UNDER SEAL
                                                           xxxxxxxxxxxxx
TONY WAYNE HEDGE,                           )
                                            )
                      Defendant.            )




                    MOTION FOR AN ORDER OF FORFEITURE
                          CONSISTING OF A $750,000.00
                 UNITED STATES CURRENCY MONEY JUDGMENT

       The United States of America, by its undersigned counsel, pursuant to Rule 32.2(b)(1)

and (c)(1) of the Federal Rules of Criminal Procedure, moves based on this Court=s acceptance of

Defendant=s plea of guilty to Count One of the Superseding Indictment in the above-styled case

for an Order of Forfeiture consisting of $750,000.00 United States currency Money Judgment

against Defendant Tony Wayne Hedge on Count One of the Superseding Indictment.




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